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  IT IS ORDERED as set forth below:



   Date: February 1, 2022
                                                           _________________________________

                                                                    Jeffery W. Cavender
                                                               U.S. Bankruptcy Court Judge

 ________________________________________________________________

                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                            :          CASE NO. 21-57455-JWC
                                                  :
LATERRICA A. LUTHER,                              :          CHAPTER 7
                                                  :
         Debtor.                                  :
                                                  :

ORDER ON MOTION TO EXTEND TIME FOR TRUSTEE OR THE UNITED STATES
           TRUSTEE TO OBJECT TO DEBTOR’S DISCHARGE

         On January 6, 2022, S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate of Laterrica A. Luther (“Debtor”), filed a Motion to Extend Deadline for the Trustee and

the United States Trustee to Object to Debtor’s Discharge [Doc. No. 34] (the “Motion”),

seeking an extension of time for Trustee or the United States Trustee to object to Debtor’s

discharge through and including April 10, 2022.

         On January 6, 2022, Trustee filed a Notice of Pleading, Deadline to Object, and for

Hearing [Doc. No. 35] (the “Notice”) regarding the Motion, setting the hearing for February 3,

2022. Trustee certifies that he served the Notice on all requisite parties in interest on January 6,

2022. [Doc. No. 35-1].
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       The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in the Second Amended and Restated General Order No. 24-2018. No objection to

the Motion was filed prior to the objection deadline provided in the Notice.

       The Court having considered the Motion and all other matters of record, including the

lack of objection to the relief requested in the Motion, and, based on the forgoing, finding that no

further notice or hearing is necessary; and, the Court having found that good cause exists to grant

the relief requested in the Motion, it is hereby

       ORDERED that the Motion is GRANTED: the time within which Trustee or the United

States Trustee may file a complaint objecting to Debtor’s discharge is hereby extended through

and including April 10, 2022.

                                     [END OF DOCUMENT]

Prepared and presented by:

    /s/ S. Gregory Hays
S. Gregory Hays
Chapter 7 Trustee

Hays Financial Consulting, LLC
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Suite 555
Atlanta, Georgia 30305
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Identification of entities to be served:

Office of the United States Trustee
362 Richard B. Russell Bldg.
75 Ted Turner Drive, S.W.
Atlanta, GA 30303

Laterrica A Luther
Apt 2116
2550 Blackmon Drive
Decatur, GA 30033

S. Gregory Hays
Hays Financial Consulting, LLC
2964 Peachtree Road, NW, Ste 555
Atlanta, GA 30305
